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      ORIGINAL
                                                                        FILED IN THE
                                                               UNITED STATES DISTRICT COURT
 JEFFERSON B. SESSIONS III                                          DISTRICT OF HAWAII
 United States Attorney General
                                                                       MAR 22 2018
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 Attorneys for the United States


                   united STATES DISTRICT COURT
                             DISTRICT OF HAWAII


                                             Case No 17CR0582-JMS-RLP
  UNITED STATES OF AMERICA,
                                             FIRST SUPERSEDING
                        Plaintiff,           INDICTMENT
              V.

                                             Title 18, U.S.C., Section 371 -
  KATHERINE P. KEALOHA (1),                  Conspiracy to Commit Offenses; Title 18,
   aka Katherine E. Kealoha,                 U.S.C., Section 1512(c)- Obstruction of
   aka Kathy Kealoha,                        Official Proceeding; Title 18, U.S.C.,
   aka Kat,                                  Section 1001 - False Statements to
   aka Alison Lee Wong,                      Federal Officer; Title 18, U.S.C., Section
  LOUIS M. KEALOHA (2),                      1344 - Bank Fraud; Title 18, U.S.C.,
  DEREK WAYNE HAHN (3),                      Section 1028A - Aggravated Identity
  MINH-HUNG NGUYEN {A),                      Theft; Title 18, U.S.C., Section
   aka Bobby Nguyen,                         982(a)(2)(A)- Criminal Forfeiture.
  GORDON SHIRAISHI(5), and
  DANIEL SELLERS (6),

                        Defendants.
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 The Grand Jury charges, at all times material:

                        INTRODUCTORY ALLEGATIONS


       1.     Defendant KATHERINE P. KEALOHA(1)("K. KEALOHA")was an

 attorney licensed to practice in the State of Hawaii.         From 1993 to 2001,

 K. KEALOHA worked in the Department of the Prosecuting Attomey("DPA")for

 the City and County ofHonolulu,first as an intern, and later as a Deputy Prosecuting

 Attomey. From 2001 to 2006, K. KEALOHA was a solo practitioner in Honolulu,

 practicing criminal defense, personal injury, and family law.              In 2006,

 K. KEALOHA retumed to work as a Deputy Prosecuting Attomey for the DPA. In

 2008, she was appointed the Director of the Office of Environmental and Quality

 Control for the State of Hawaii. In 2010, K. KEALOHA again retumed to the DPA

 as a Deputy Prosecuting Attomey, ultimately becoming a supervisor in the office.

       2.     Defendant LOUIS M.KEALOHA (2)("L. KEALOHA"),the husband

 of K. KEALOHA, was an officer in the Honolulu Police Department("HPD") for

 over 30 years. L. KEALOHA had an undergraduate degree in criminal justice and

 business administration, a graduate degree in criminaljustice, and a doctorate degree

 in education from the University of Southem Califomia. During his career with

 HPD,L. KEALOHA rose through the ranks and, ultimately, was selected in 2009 as

 HPD's Chief of Police.


       3.    HPD was the largest police department in the State of Hawaii, and was

 responsible for providing law enforcement to almost one million residents on the

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 island ofOahu. The unit ofHPD responsible for investigating criminal offenses and

 assisting in their prosecution was the Criminal Investigation Division ("CID"). A

 separate, federally-authorized and specialized imit of HPD called the Criminal

 Intelligence Unit ("CIU") was responsible for gathering intelligence and data on

 organized crime,terrorism,and gang threats facing the City and County ofHonolulu.

 The members of CIU did not collect evidence to be used in the investigation and

 prosecution of criminal cases, but instead, passed intelligence information about

 criminal threats to other units in HPD and federal law enforcement partners.

 Because of their specialized duties and responsibilities, officers in CIU were

 supervised by a lieutenant, who reported to a captain, who ultimately reported to the

 Chief of Police, which firom 2009 to 2017 was L. KEALOHA. Due to that close

 relationship, the Chief of Police played a direct role in selecting and appointing

 officers to CIU.


       4.     Defendant DEREK WAYNE HAHN (3)("HAHN")joined HPD as a

 police officer in 1997, and held a variety of positions on the force. In 2013, at

 L. KEALOHA's suggestion, HAHN was appointed as lieutenant in CIU. HAHN

 was elevated to Acting Captain and commanding officer of CIU in 2014, a position

 he held until 2016. In approximately 2014, HAHN, K. KEALOHA, and another

 individual formed Discount Energy Solutions, LLC,a residential solar company.

       5.    Defendant MINH-HUNG NGUYEN(4)("NGUYEN")joined HPD as

 an officer in 2006. From approximately 2012 to 2017, NGUYEN was assigned to

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 CIU at the rank of a footman. From approximately 2010 to 2014, NGUYEN was

 married to K. KEALOHA's niece ("M.N.").

       6.     Defendant GORDON SHIRAISHI(5)("SHIRAISHI")joined HPD in

 1983, graduating in the same Police Academy class as L. KEALOHA. In

 approximately 2011, L. KJEALOHA promoted SHIRAISHI to the rank of Captain

 and assigned him to be the commanding officer of CIU. In 2014, L. KEALOHA

 again promoted SHIRAISHI to the rank of Major and assigned him to lead the

 Training Division of HPD. SHIRAISHI was later reassigned to District 7, and held

 the rank of Major until his retirement in 2017.

       7.     Defendant DANIEL SELLERS(6)("SELLERS")joined HPD in 1997,

 worked as a corporal in CIU from 2009 to 2011, became a detective in CID, and

 eventually returned to CIU as a detective in 2011. SELLERS and K. KEALOHA

 met in high school, dated for several years, and continued a social and professional

 relationship for over 20 years.

       8.     Niall Silva("Silva")(charged elsewhere)was a police officer employed

 with HPD. From approximately 2012 to December 2013, Silva was assigned to CIU

 as a technician.


       9.     The United States Postal Inspection Service ("USPIS") was a federal

 law enforcement agency and arm of the executive branch of the United States

 designated to support and protect the United States Postal Service and its employees,

 infrastructure, and customers; to enforce the laws that defend the nation's mail

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 system; and to ensure public trust in the mail. As part of its lawful and legitimate

 functions, USPIS investigated crimes against the property and the operation of the

 Postal Service and, where sufficient evidence existed, referred such offenses for

 criminal prosecution. When investigating such crimes, it was material to USPIS to

 receive accurate information from potential witnesses.

       10.    The United States Attorney's Office for the District of Hawaii

 ("USAO-Hawaii") was an agency of the United States and arm of the executive

 branch that, among other matters, prosecuted violations of federal criminal law in

 the United States District Court for the District of Hawaii("USDC-Hawaii").

       11.    The Federal Bureau of Investigation ("FBI") was a federal law

 enforcement agency and arm ofthe executive branch ofthe United States designated

 to investigate alleged violations of federal criminal law dealing with deprivation of

 civil rights and obstruction ofjustice.

              Financial Accounts of K. KEALQHA and L. KEALOHA


       12.    Between 2004 and 2017,defendants K.KEALOHA and L.KEALOHA

 opened and controlled over thirty separate bank accounts at various financial

 institutions located in the State of Hawaii. Among the banks and credit unions used

 by defendants L. KEALOHA and K. KEALOHA to hold and move money were

 Aloha Pacific Credit Union ("APCU"), American Savings Bank ("ASB"), Bank of

 Hawaii ("BOH"), First Hawaiian Bank ("FHB"), Hawaii Law Enforcement Credit

 Union("HLECU"),Hawaii Central Federal Credit Union("HCFCU"),Hawaii State

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 Federal Credit Union ("HSFCU"), and Hawaii USA Federal Credit Union

 ("HUSAFCU"),each of which qualified as a "financial institution" pursuant to Title

 18, United States Code, Section 20.

                           Misappropriation of Trust Funds

       13.    In or about 2004, while employed as a private attorney, K. KEALOHA

 was appointed by the Hawaii state court as "Guardian ofthe Property"for two minor

 children: Ransen Taito(charged elsewhere),then age 12; and A.T.,then age 10. The

 state court further ordered K. KEALOHA to create individual trust accounts for


 Ransen Taito and A.T., and to deposit over $167,000 to be held in trust for their

 benefit. Pursuant to a state court order, all disbursements and transactions associated

 with these trust accounts were to be approved by both K. KEALOHA and her co-

 counsel in the state court guardianship case ("Attorney 1").

       14.    In or about May 2004, K. KEALOHA opened two separate trust

 accounts for Ransen Taito and A.T. ("the Trust Accounts"), each containing over

 $83,884 in trust proceeds, but (in contravention of the Hawaii state court order)

 identified only herselfas the trustee and authorized signatory on the Trust Accounts.

       15.    Between May 2004 and February 2012, without notice to or approval

 from Ransen Taito, A.T., or Attorney 1, K. KEALOHA used almost all the funds in

 the Trust Accounts to pay the personal expenses of L. KEALOHA and K.

 KEALOHA,including:
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             a.    On or about January 4, 2008, K. KEALOHA pledged one ofthe

       Trust Accounts as collateral for a $50,000 personal loan to K. KEALOHA

       ffomASB("ASB x3126");

             b.    On or about March 1, 2008, K. KEALOHA pledged one of the

       Trust Accounts as collateral for a $38,500 personal loan to K. KEALOHA

       ffomASB("ASB x3296");

             c.    On or about January 12, 2009, K. KEALOHA withdrew $4,500

       in cash from a Trust Account;

             d.    On or about March 19-20, 2009, K, KEALOHA pledged one of

       the Trust Accounts as collateral for a $55,082 personal loan from ASB("ASB

       x5383"), and used a cashier's check to transfer $20,000 from ASB x5383 to

       pay for L. KEALOHA and K. KEALOHA's personal expenses;

             e.    On or about March 31,2009,K.KEALOHA withdrew $3,300 in

       cash from a Trust Account;

             f.    On or about May 18, 2009, K. KEALOHA transferred $5,200

       from a Trust Account to pay for L.KEALOHA and K. KEALOHA's personal

       expenses, including their home mortgage pa3mient;

             g.    On or about May 18, 2009, K. KEALOHA withdrew $900 in

       cash from a Trust Account;

             h.    On or about May 18, 2009, K. ICEALOHA caused an online

       transfer of$1,000 from a Trust Account to pay for personal expenses;

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             i.    On or about June 22, 2009, K. KEALOHA transferred $6,500

       from a Trust Account to pay for L. KEALOHA and K. KEALOHA's personal

       expenses, including their mortgage payment;

             j.    On or about June 26, 2009, K. KEALOHA withdrew $2,000 in

       cash from a Trust Account;

             k.    On or about Jime 26, 2009, K. KEALOHA transferred $4,000

       from a Trust Account to pay for L. KEALOHA and K. KEALOHA's personal

       expenses;


             1.    On or about August 5, 2009, K.KEALOHA withdrew $1,100 in

       cash from a Trust Account;

             m.    On or about March 19, 2010, K. KEALOHA used all the

       remaining funds in a Trust Account - over $55,000 - to pay off the

       outstanding loan balance on ASB x5383;

             n.    On or about May 17, 2010, K. KEALOHA transferred $1,000

       from a Trust Account to pay for L. KEALOHA and K.ICEALOHA's personal

       expenses;


             o.    On or about July 12, 2010, K. KEALOHA transferred $2,440

       from a Trust Account to pay for L. KEALOHA and K. KEALOHA's personal

       expenses, including the cost ofrefinancing their home;




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             p.     On or about January 21, 2011, K. KEALOHA transferred $203

       from a Trust Account to pay for overdraft charges on L. KEALOHA and

       K. KEALOHA's personal bank account; and

             q.     On or about January 4, 2012, K. KEALOHA used all the

       remaining funds in a Trust Account - over $49,000 - to pay off the

       outstanding loan balance on ASB x3126.

       16.   On numerous occasions between 2010 and 2012, K. KEALOHA

 provided false and misleading information to Attorney 1 and the Hawaii state court

 about the Trust Accounts, and concealed the fact that K. KEALOHA and

 L. KEALOHA had misappropriated almost $150,000 from the Trust Accounts. For

 example:

             a.     On or about August 10, 2010, K. KEALOHA prepared a court

       pleading falsely representing that prior to his eighteenth birthday, Ransen

       Taito controlled his Trust Account and had received all the funds held in that

       account. K. KEALOHA fraudulently caused Ransen Taito to sign this false

       document, caused the forged signature of an alleged witness to be added, and

       filed the document and certain fraudulent exhibits with the Hawaii state court.

             b.     On August 2-3, 2011, K. KEALOHA sent emails to her alias,

      "Alison Lee Wong," which she then forwarded to Attorney 1's law firm, in

       order to make it appear that K. KEALOHA was actively working towards

       closing Ransen Taito's and A.T.'s guardianships.

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             c.       On August 7,2011,K.KEALOHA sent an email to Attorney 1's

       law firm claiming that "Alison" had "put together the final accounting [for

       Ransen Taito]" and had called Ransen Taito regarding signing the necessary

       documents to finalize Ransen Taito's account.


             d.       On or about August 12, 2011, K. KEALOHA fraudulently

       convinced Ransen Taito to sign another pleading falsely claiming that Ransen

       Taito had received all of the funds in his Trust Account, and filed this false

       document with the Hawaii state court.


             e.       On or about September 26, 2011, K. KEALOHA sent an email

       to Attorney 1's law firm,claiming she "plan[ned]on meeting with Alison[Lee

       Wong]" in several days to "go over the documents that [Ransen Taito]

       dropped off."

             f.       On or about October 26, 2011, using the alias "Alison Lee

       Wong," K. KEALOHA sent a fraudulent email to Attomey Ts law firm

       regarding closing out Ransen Taito and A.T.'s guardianships, and falsely

       represented that Alison Lee Wong was"making sure all necessary documents

       are signed."

             g.       On or about May 10, 2012, K. KEALOHA fraudulently induced

       Ransen Taito to sign a "Statement of Ransen Taito" that she created, which

       falsely stated that Ransen Taito had received over $83,884.91 from his Trust

       Account by the time he turned eighteen.

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               h.    On or about June 28, 2012, K. KEALOHA sent the false

        "Statement of Ransen Taito" to Attorney 1 in response to Attorney I's

        persistent inquiries into K. KEALOHA's resolution of the guardianship case

        when Ransen Taito turned eighteen.

                        Misappropriation ofFunds from G.K.P.

        17.   In or about January 2007,K.KEALOHA told a relative("G.K.P.")that

 she had access to an investment club (or "hui") that would generate significant

  monthly returns on any funds G.K.P. was able to invest.         Based on these

 representations, G.K.P. decided to invest some ofthe savings he had gathered from

  various sources, including his "disability" income.

        18.   On or about February 22,2007, G.K.P. gave K.KEALOHA $25,000 in

 cash from his safety deposit box as an initial investment with her. Rather than

 investing this money, K. KEALOHA deposited the cash into a bank account she

 controlled, and used the funds to pay for personal expenses of L. KEALOHA and

 K. KEALOHA.


        19.   To give the false appearance of investment retums, K. KEALOHA

 periodically withdrew $600 in cash from the bank account holding G.K.P.'s money

 and paid the money to G.K.P. as a "return" on his investment. Later, K. KEALOHA

 gave G.K.P. a debit card linked to the bank account that could be used to withdraw

 between $100 and $800 per month as "retums" on G.K.P.'s investment.



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        20.   Because of the false appearance that K. KEALOHA was safeguarding

  G.K.P.'s money and generating significant investment returns, G.K.P. gave more of

  his cash savings to K. KEALOHA,including on November 13, 2008($15,000)and

  October 16,2009($30,000). G.K.P. ultimately handed over approximately $70,000

 of his savings to K. KEALOHA for safekeeping and investment, of which G.K.P.

 received approximately $23,739 back as purported "investment returns." Instead of

 investing the approximately $70,000, L. KEALOHA and K. KEALOHA used over

 $45,000 of G.K.P.'s money to pay their personal expenses.

                     Misappropriating Loan Proceeds from P.P.

       21.    In or about 2009, K. KEALOHA's grandmother ("P.P.") asked

 K. KEALOHA about ways to purchase a condominium for her son, G.K.P. P.P.

 wanted to help G.K.P. with such a purchase because he had cared for P.P. for many

 years, and G.K.P. did not have sufficient credit to purchase such a property. In

 response, K. KEALOHA recommended a five-step process: first, P.P. would secure

 a "reverse mortgage" loan on her personal residence; second, P.P. would use a

 portion ofthe loan proceeds to purchase the condominium and pay expenses for the

 transaction; third, P.P. would use a portion of the proceeds to help L. KEALOHA

 and K. KEALOHA "consolidate" their bills, thereby allowing them to improve their

 credit; fourth, L. KEALOHA and K, KEALOHA would use their newly-improved

 credit to purchase the condominium from P.P.; and fifth, L. KEALOHA and

 K. KEALOHA would sell the condominium to G.K.P. by "taking back" a mortgage

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  so G.K.P. would make mortgage payments to them instead of to a bank. Based on

  K.KEALOHA's representations,P.P. agreed to the plan and allowed K.KEALOHA

  to negotiate with a lender so that P.P. could withdraw equity in her house through a

  reverse mortgage.

        22.    In or about January 2009, K. KEALOHA requested that P.P. execute a

  Durable Power of Attorney appointing K.KEALOHA as her attomey-in-fact for the

  purpose of obtaining a reverse mortgage on P.P.'s property.

        23.    In or about October 2009,K. KEALOHA caused a reverse mortgage to

  be executed on P.P.'s property, and caused P.P. to borrow approximately $513,474

 in net loan proceeds from MetLife Home Loans to be deposited into a BOH bank

  account held jointly by K.KEALOHA and P.P.("BOH xl502"). A portion ofthese

 funds was used to purchase the condominium for G.K.P., and the remainder

 (approximately $128,236) was to be used to "consolidate" L. KEALOHA and

 K. KEALOHA's debts and pay the expenses ofP.P.

        24.    Between October 2009 and April 2010, K. KEALOHA did not use the

 BOH xl502 account to pay many ofthe expenses ofP.P.; she instead withdrew and

 transferred funds from BOH xl502 to pay the personal expenses of L. KEALOHA

 and K. KEALOHA,including:

  Expenses                                                            Amount


  Sheraton Waikiki- Police ChiefInduction Brunch for L. KEALOHA       (26,394.80)
  Car payments for Mercedes Benz & Maserati                           (10,663.58)
  HVAC installation at home of K. KEALOHA and L. KEALOHA              (7,800.00)
  Payment to realtor                                                  (7,000.00)

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  Expenses                                                      Amount


  Insurance Payments                                           (5,846.00)
  Travel Expenses                                              (3,596.12)
  Donations to Charity                                         (3,000.00)
  Elton John Concert Tickets                                   (2,161.70)
  Hawaiian Telcom                                              (2,070.51)
  ATM Withdrawals                                              (1,582.25)
  Cashier's check payable to friend ofK.ICEALOHA               (1,387.12)
  Invitation and Paper Design Store                            (1,292.83)
  Hawaiian Airlines                                            (1,157.48)
  Halekulani Hotel                                             (1,137.65)
  T-Mobile                                                     (980.01)
  Disneyland, Anaheim                                          (965.02)
  Bank Fees                                                    (917.80)
  Shell Oil                                                    (900.00)
  Honolulu Police Relief(charity)                              (875.25)
  Kincaids (restaurant)                                        (721.63)
  Macy's                                                       (713.54)
  Revolution Motor Sport                                       (690.05)
  Apple Store                                                  (642.15)
  Kahala Hotel-Plumeria Restaurant                             (454.12)
  Calista by Cotton Cargo(woman's clothing)                    (452.84)
  The UPS Store                                                (693.54)
  United Airlines                                              (386.00)
  Dave & Busters                                               (347.51)
  Sushi Sasabune (restaurant)                                  (341.75)
  Hilo Hawaiian Hotel                                          (331.65)
  Ross Store                                                   (328.45)
  Verizon Wireless                                             (320.76)
  Got Gifts-Hilo                                               (305.94)
  Arbonne International                                        (296.14)
  Longs Drugs                                                  (281.31)
  Rainforest, Anaheim (restaxirant)                            (279.68)
  Brighton Collectibles(jewelry)                               (276.93)
  Vendor Payments less than $250                               (4,762.98)
  TOTAL                                                        (92,335.09)

        25.     By April 2011,K.KEALOHA had directed BOH to only mail monthly

 statements for BOH xl502 to a Post Office Box she controlled, and had refused

 G.K.P.'s requests for a return of his investment funds. Additionally, because



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  K.KEALOHA was not making interest payments on F.P.'s reverse mortgage, the

  outstanding balance ofthis loan had grown substantially.

                                         Count 1


                             Conspiracy(18 U.S.C. § 371)

        26.   The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 25 of this Indictment.

        27.   Beginning on a date unknown, but no later than 2011, and continuing

 through 2017, within the District of Hawaii and elsewhere, defendants

 KATHERINE P. KEALOHA (1), aka Katherine E. Kealoha, aka Kathy Kealoha,

 aka Kat, aka Alison Lee Wong, LOLTS M. KEALOHA (2), DEREK WAYNE

 HAHN (3), MINH-HUNG NGUYEN (4), aka Bobby Nguyen, GORDON

 SHIRAISHI(5), and co-conspirator Niall Silva (charged elsewhere) did knowingly

 and willfully combine, conspire, and agree together, with each other and with others

 to commit the following offenses against the United States:

              a.     To willfully deprive, while acting under color of law, residents

        of Honolulu, Hawaii, of the rights secured and protected by the Constitution

        and laws of the United States to be free from unreasonable searches and

        seizures, in violation of Title 18, United States Code, Section 242;

              b.     To corruptly alter, destroy, and conceal a record, document and

        other object with the intent to impair the object's integrity and availability for

        use in an official proceeding, and to corruptly obstruct, influence, and impede

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        an official proceeding, in violation of Title 18, United States Code, Section

        1512(c);

               c.    To knowingly and willfully make a materially false, fictitious,

        and fraudulent statement in a matter within the jurisdiction of the executive

        branch ofthe Government ofthe United States in violation ofTitle 18, United

        States Code, Section 1001; and

               d.    To knowingly alter and falsify records, documents and tangible

        objects with the intent to impede, obstmct, and influence the investigation of

        a matter within the jurisdiction of a department and agency of the United

        States, in violation of Title 18,United States Code, Section 1519.

                         Manner and Means ofthe Conspiracv

        28.    It was part of the conspiracy that L. KEALOHA and K. KEALOHA

  would improperly use their authority to prevent the discovery and disclosure oftheir

  precarious financial condition and prior malfeasance involving the Trust Accounts,

  G.K.P. and P.P.


        29.    It was further part of the conspiracy that the conspirators would target

  members of the community who threatened the power and financial condition of

 L. KEALOHA and K. KEALOHA,including G.K.P. and P.P.

        30.   It was further part ofthe conspiracy that the conspirators would seek to

  discredit and intimidate such persons, including G.K.P. and P.P., by falsely alleging

 that such persons had engaged in criminal activity or were incompetent.

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        31.   It was further part ofthe conspiracy that the conspirators would attempt

 to secure evidence against such persons, including G.K.P. and P.P., by misusing the

 resources of CIU, by executing unconstitutional searches and seizures, and by

 abusing their official positions and law enforcement authority.

        32.   It was further part of the conspiracy that the conspirators would

 fabricate, alter, and conceal evidence in order to support false claims of criminal

 conduct by G.K.P., and would seek to use such evidence to bring state and federal

 charges against G.K.P.

       33.    It was further part ofthe conspiracy that the conspirators would provide

 fabricated evidence against G.K.P. to the USPIS and the USAO-Hawaii, and

 encourage them to pursue federal criminal charges against G.K.P.

       34.    It was further part ofthe conspiracy that the conspirators would present

 false testimony and evidence in a criminal trial of G.K.P. in the USDC-Hawaii.

       35.    It was further part of the conspiracy that, after a mistrial had been

 declared and the charges against G.K.P. had been dismissed, the conspirators would

 endeavor to obstruct the subsequent investigation by the FBI and a Federal grand

 jury in the District of Hawaii.

       36.    It was further part ofthe conspiracy that the conspirators would attempt

 to provide false and misleading information to the FBI and the Federal grand jury,

 and convince witnesses to do the same.




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                                      Overt Acts


        37.   In furtherance of the conspiracy, the conspirators committed the

  following overt acts, among others, within the District of Hawaii and elsewhere:

              a.     In or about June 2011,L.KEALOHA and K.KEALOHA caused

        CIU officers to conduct physical surveillance of G.K.P., and to continue such

        surveillance from time to time through June 2013.

              b.     On or about June 27, 2011, after G.K.P. had been arrested by

        HPD for unlawfully entering another person's house, K.KEALOHA,MINH-

        HUNG NGUYEN, DANIEL SELLERS, charged below, and other HPD

        officers entered, searched, and seized items from G.K.P.'s house without

        lawful authorization.


              c.     On or about March 30, 2012, DEREK WAYNE HAHN and

        MINH-HUNG NGUYEN arranged to file a false police report and submit

        latent fingerprints from an alleged burglary at L. KEALOHA and

        K. KEALOHA's then personal residence.

              d.    On or about March 30,2012,DEREK WAYNE HAHN wrote an

        HPD Incident Report stating that MINH-HUNG NGUYEN was the resident

        ofthe KEALOHAs'then personal residence(without mentioning the property

        was owned by L. KEALOHA and K. KEALOHA)and falsely reported that

        the alleged perpetrator had "disabled the surveillance system."



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             e.     On or about April 5, 2012, DEREK WAYNE HAHN submitted

       to the HPD laboratory for examination a set oflatent fingerprints he allegedly

       recovered from the garage at the KEALOHAs'then personal residence.

             f.     On or about the week of June 21, 2013, a conspirator altered the

       mechanism securing the mailbox out front of L. KEALOHA and

       K. KEALOHA's then personal residence, so that the mailbox could be easily

       removed.


             g.     On or about June 21, 2013, at about 11:30 p.m., a conspirator

       drove a car to the front ofthe KEALOHAs'then personal residence, walked

       from the car to the mailbox in the front yard, lifted the unsecured mailbox

       from its post, placed it in his car, and drove away.

             h.     On or about June 22,2013, prior to any official report to HPD of

       the alleged theft, MINH-HUNG NGUYEN secretly removed the hard drive

       from the video surveillance system at the KEALOHAs' then personal

       residence and transported it to HPD headquarters.

             i.     On or about June 22, 2013, at about 1:28 p.m., MINH-HUNG

       NGUYEN spoke with K. KEALOHA on the telephone.

             j.     Immediately thereafter, on or about June 22, 2013, at about

       1:31 p.m., K. KEALOHA called 911 and falsely reported that the mailbox in

       front ofthe KEALOHAs'then personal residence had been stolen.



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             k.    On or about June 22, 2013, after 1:31 p.m., K. KEALOHA

       provided a handwritten statement on HPD form 252 stating,in part:"[w]e will

       be reviewing our security camera and will give that information to the police

       when it becomes available." K. KEALOA did not reveal that the surveillance


       video of the alleged mailbox theft had already been retrieved by MINH-

       HUNG NGUYEN.


             1.    On or about June 22, 2013, in the aftemoon, MINH-HUNG

       NGUYEN met co-conspirator Niall Silva at HPD headquarters to review the

       video recording ofthe alleged mailbox theft at the KEALOHAs'then personal

       residence ("the Video")that NGUYEN had removed.

             m.    On or about June 22, 2013, MINH-HUNG NGUYEN falsely

       identified G.K.P. as the person depicted on the Video allegedly stealing the

       mailbox.


             n.    On or about June 22, 2013, after 2:30 p.m., DEREK WAYNE

       HAHN instructed Silva to violate HPD protocols and not log the original hard

       drive Video into evidence, but instead to create compact discs with excerpts

       ofthe Video.


             o.    On or about June 22, 2013, following the orders given by

       DEREK WAYNE HAHN, Silva created compact discs with excerpts of the

       Video, gave copies ofthe excerpts to DEREK WAYNE HAHN and DANIEL

       SELLERS,and placed the original hard drive in his desk.

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             p.    On or about June 22,2013,a co-conspirator in CIU caused a still

       shot from the Video-depicting the car used by the person who allegedly stole

       the mailbox -to be printed.

             q.    On or about June 22, 2013, DEREK WAYNE HAHN called

       GORDON SHIRAISHI at approximately 2:49 p.m. and 3:56 p.m.

             r.    On or about June 22, 2013, L. KEALOHA called GORDON

       SHIRAISHI at approximately 5:18 p.m.

             s.    On or about June 22, 2013, between 7:10 p.m. and 8:01 p.m.,

       K. KEALOHA and DEREK WAYNE HAHN exchanged approximately 30

       text messages.

             t.    On or about June 22, 2013, beginning at approximately

       8:10 p.m., Silva and another co-conspirator in CIU caused electronic

       databases to be searched for information about G.K.P., his residence address,

       and his neighbors.

             u.    On or about June 22, 2013, between 7:23 p.m. and 9:56 p.m.,

       DEREK WAYNE HAHN and GORDON SHIRAISHI exchanged at least

       seven phone calls with each other.

             V.    On or about June 22, 2013, MINH-HUNG NGUYEN and Silva

       drove in a HPD vehicle to G.K.P.'s residence and began surveillance.




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             w.     On or about June 22,2013, GORDON SHIRAISHI and DEREK

       WAYNE HAHN caused HPD officers to keep G.K.P., and the residence of

       K. KEALOHA and L. KEALOHA,under continuous surveillance.

             X.     On or about June 22-23, 2013, DEREK WAYNE HAHN and

       DANIEL SELLERS printed out information from electronic databases

       concerning G.K.P.'s neighbor.

             y.     On or about Jime 23, 2013, between 2:49 a.m. and 2:56 a.m.,

       K. KEALOHA and DEREK WAYNE HAHN exchanged approximately 10

       text messages.

             z.     On or about June 24, 2013, L. KEALOHA falsely identified

       G.K.P. as the person depicted on the Video allegedly stealing the mailbox.

             aa.    On or about June 24, 2013, K. KEALOHA falsely accused

       G.K.P. of committing elder abuse and fraud against P.P., in an attempt to

       convince an HPD lieutenant to investigate G.K.P. for those alleged crimes.

             bb.    On or about June 24, 2013, a co-conspirator in CIU caused law

       enforcement databases to be searched for information about G.K.P.'s

       neighbors.

             cc.    On or about June 27, 2013, L. KEALOHA, K. KEALOHA,

       MINH-HUNG NGUYEN, and DEREK WAYNE HAHN created a false

       police report identifying G.K.P. as the suspect of an alleged burglary at the

       KEALOHAs'then personal residence on June 23 or 24, 2013.

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             dd.      On or about Saturday, June 29, 2013, K. KEALOHA falsely

       identified G.K.P. as the person in the Video allegedly stealing the mailbox.

             ee.      On or about June 29, 2013, L. KEALOHA and K. KEALOHA

       caused DANIEL SELLERS to direct HPD officers to arrest G.K.P. for


       stealing their mailbox.

             ff.      On or about June 29, 2013, between 5:09 p.m. and 5:12 p.m.,

       L. KEALOHA and DEREK WAYNE HAHN exchanged approximately three

       phone calls.

             gg.      On or about July 1, 2013, when logging the Video excerpts into

       HPD evidence, Silva created a false Follow Up Report claiming that he had

       collected the original Video hard drive from the KEALOHAs'then personal

       residence on June 22,2013, at 8:59 a.m.

             hh.      On or about July 3, 2013, after G.K.P. was charged with

       "willfully t[earing] down a receptacle used for the receipt of mail on a mail

       route," K. KEALOHA falsely told a USPIS Inspector that G.K.P. stole her

       mailbox to obtain bank statements.


             ii.      On or about July 5, 2013, MINH-HUNG NGUYEN falsely told

       a USPIS Inspector that he had met Silva at the KEALOHAs' then personal

       residence and witnessed Silva recovering the original Video hard drive on the

       morning of June 22,2013.



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             jj.    In   November 2013, while          a   civil   lawsuit involving

       K. KEALOHA and G.K.P. remained ongoing, K. KEALOHA directed DPA

       personnel to file an opposition to G.K.P.'s routine motion to dismiss his state

       court deferred prosecution and to attempt to convince the state court to convert

       G.K.P.'s deferred prosecution into a felony conviction.

             kk.    Beginning on or about May 21, 2014 - after G.K.P.'s defense

       attorney sought and obtained an order from the USDC-Hawaii permitting the

       issuance ofa subpoena duces tecum to K. KEALOHA and L. KEALOHA for

       video surveillance footage from June 20, 2013 to the date of the alleged

       mailbox theft - a conspirator caused the original hard drive containing video

       evidence to be permanently altered by attaching a camera to the hard drive

       and filming an image of CIU's office ceiling for almost one week.

             11.    On or about June 18, 2014, Silva falsely told a USPIS Inspector

       that he personally recovered the hard drive from the KEALOHAs' personal

       residence.


             mm. On or about Jime 18,2014, shortly after Silva had provided false

       information to a USPIS Inspector, Silva called MINH-HUNG NGUYEN to

       discuss the false evidence that the conspirators had previously agreed to

       provide to authorities.




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             nn.    On or about June 19, 2014, Silva again provided a USPIS

       Inspector with false information about the "investigation" into the alleged

       mailbox theft.


             00.   In or about December 2014, K. KEALOHA filed a petition in

       Hawaii state court to force P.P. into a conservatorship, alleging that due to

       F.P.'s age she was not competent to manage her finances and had been

       "manipulated" and "co-opted" by G.K.P.

             pp.    On or about December 1, 2014, MINH-HUNG NGUYEN and

       Silva discussed the conspirators' plan to provide false testimony at the

       upcoming federal criminal trial of G.K.P. in USDC-Hawaii.

             qq.    On or about December 4, 2014, Silva falsely testified in the trial

       of G.K.P. in USDC-Hawaii that on June 22, 2013, at 8:59 a.m., he personally

       went to the KEALOHAs'then personal residence, verified the security system

       was in good working order on the date and time ofthe alleged theft, confirmed

       that recordings were made, and retrieved the recordings from the residence.

             rr.    On or about December 4, 2014, at the trial of G.K.P. in USDC-

       Hawaii,L. KEALOHA falsely identified G.K.P. as the person depicted on the

       Video allegedly stealing the mailbox.

             ss.    On or about December 4,2014, MINH-HUNG NGUYEN texted

       Silva about the false evidence provided in the federal criminal trial of G.K.P.



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             tt.    On or about December 4,2014,DEREK WAYNE HAHN spoke

       with Silva, and communicated by text message with MINH-HUNG

       NGUYEN,about the false evidence provided in the criminal trial of G.K.P.

             uu.   On or about April 30, 2015, GORDON SHIRAISHI falsely

       claimed that on June 22,2013, at about 9:00 a.m., he received a telephone call

       from L. KEALOHA complaining that his mailbox was gone, and that

       GORDON SHIRAISHI then directed DEREK WAYNE HAHN to send a

       member of CIU to L. KEALOHA's home to examine the video surveillance

       footage.

             w.    On or about November 16, 2015, GORDON SHIRAISHI told

       the FBI the same false version ofevents that GORDON SHIRAISHI provided

       on April 30, 2015.

             ww. On or about November 19, 2015, at about 3:42 p.m., after being

       contacted by the FBI about the investigation into G.K.P.'s criminal trial in

       USDC-Hawaii, MINH-HUNG NGUYEN called Silva.

             XX.   On or about November 24, 2015, MINH-HUNG NGUYEN

       provided false and misleading information to the FBI about the alleged

       mailbox theft from the KEALOHAs'then personal residence.

             yy.   On or about January 6, 2016, GORDON SHIRAISHI told the

       FBI the same false version of events that GORDON SHIRAISHI provided on

       April 30, 2015 and November 16, 2015.

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              zz.   On or about January 7, 2016, GORDON SHIRAISHI testified

       falsely before the Federal grand jury that on June 22, 2013, at approximately

       9:00 a.m., while in his yard, he received a call on his cell phone from

       L. KEALOHA about the KEALOHAs' missing mailbox, and then called

       DEREK WAYNE HAHN and directed him to send a CIU technician to the


       KEALOHAs'residence to recover any video footage ofthe alleged thefl.

              aaa. On or about April 20, 2016, K. KEALOHA advised Ransen

       Taito and A.T. not to tell the truth to the Federal grand jury, saying that ifthey

       did not continue to falsely claim to have received all oftheir money from the

       Trust Accounts,then K. KEALOHA and the Taito's mother could be returned

       to jail.

              bbb. On or about April 21,2016,K. KEALOHA coached A.T. on how

       to provide false and misleading testimony to the Federal grand jury.

              ccc. On or about April 21,2016,K. KEALOHA caused Ransen Taito

       and A.T. to provide false and misleading testimony to the Federal grand jury.

              ddd. On or about April 21, 2016, K. KEALOHA met with Ransen

       Taito and A.T., questioned them about their testimony, and provided them

       with various pieces of paper and directed them to sign false and misleading

       documents that would support their false testimony.

              eee. On or about April 21, 2016, MINH-HUNG NGUYEN falsely

       testified before the Federal grand jury that he was standing next to Silva at the

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       KEALOHAs'then personal residence when the original hard drive containing

       the Video was retrieved, and falsely claimed that G.K.P. was the person

       depicted in the Video.

             fff.    On or about May 3,2016,K. KEALOHA sent an email attaching

       the false and misleading documents she had caused Ransen Taito and A.T. to

       sign, so that these documents would be provided to the FBI and the Federal

       grand jury.

             ggg. On or about May 19, 2016, MINH-HUNG NGUYEN falsely

       testified before the Federal grand jury that he did not recall his repeated

       communications with Silva about the false information they were providing

       to USPIS and in G.K.P.'s criminal trial in USDC-Hawaii.

       All in violation of Title 18, United States Code, Section 371.




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                                     Counts 2-8

             Obstruction of Official Proceeding(18 U.S.C. § 1512(c)(2))

       38.    The grand jury realleges and incorporates by reference Introductory

 Allegations 1 through 25 of this Indictment.

       39.    On December 2, 2014, a Federal criminal trial commenced in USDC-

 Hawaii in the case of United States v. G.K.P., Case No. 13CR0735-LEK. The trial

 ended on December 4, 2014, after a mistrial was declared. The case against G.K.P.

 was dismissed with prejudice on December 16, 2014.

       40.   Between November 19, 2015 and October 2017, a Federal grand jury

 was conducting a proceeding to determine whether violations of federal law had

 been committed by persons involved in the investigation and prosecution of United

 States V. G.K.P.


       41.    On or about the dates set forth below, in the District of Hawaii, the

 defendants identified below did corruptly attempt to obstruct, influence, and impede

 the official proceedings identified below:

  Count Date           Defendant                        Act
  2       December     KATHERINE KEALOHA (1), LOUIS M. KEALOHA (2)
          4, 2014      LOUIS M.KEALOHA (2),   testified falsely in the criminal
                       DEREK WAYNE HAHN (3), trial of G.K.P. in USDC-Hawaii
                       and                    that the person depicted in the
                       MINH-HUNG NGUYEN (4)             Video was G.K.P.




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  Count Date          Defendant                    Act
  3       January 7, KATHERINE KEALOHA (1),        GORDON              SHIRAISHI
          2016       LOUIS M.KEALOHA (2),          testified falsely before the grand
                     DEREK WAYNE HAHN (3),         jury that on the morning ofJune
                     MINH-HUNG NGUYEN (4),         22, 2013, around 9:00 a.m., he
                     and GORDON SHIRAISHI(5)       received a call on his cell phone
                                                   from L. BCEALOHA about the
                                                   KEALOHAs' missing mailbox,
                                                   and then he called HAHN and
                                                   directed him to send a CIU
                                                   technician to the KEALOHAs'
                                                   then   personal    residence to
                                                   recover the hard drive from the
                                                   video surveillance system
  4       February    DANIEL SELLERS(6)            DANIEL SELLERS testified in
         25,2016                                   a false and misleading manner
                                                   before the grand jury by
                                                   denying involvement in any
                                                   searches of G.K.P.'s home in
                                                   2011
  5       April 21,   KATHERINE KEALOHA (1),       K. KEALOHA caused Ransen
         2016         LOUIS M.KEALOHA (2),         Taito and A.T. to testify falsely
                      DEREK WAYNE HAHN (3),        before the Federal grand jury
                      MINH-HUNG NGUYEN (4),        conceming the Trust Accounts
                      and
                      GORDON SHIRAISHI(5)
  6       April 21,   KATHERINE KEALOHA (1),       MINH-HUNG             NGUYEN
         2016,        LOUIS M.KEALOHA (2),         testified falsely before the grand
                      DEREK WAYNE HAHN (3),        jury that he was standing next to
                      MINH-HUNG NGUYEN (4),        Silva at the KEALOHAs' then
                      and GORDON SHIRAISHI(5)      personal residence when the
                                                   original hard drive containing
                                                   the Video was retrieved from
                                                   the residence, and claimed that
                                                   G.K.P. was the person depicted
                                                   in the Video




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  Count Date          Defendant                         Act
  7       May 3,      KATHERINE KEALOHA (1), K. KEALOHA sent an email
          2016        LOUIS M.KEALOHA (2),    attaching false and misleading
                      DEREK WAYNE HAHN (3), documents she had caused
                      MINH-HUNG NGUYEN (4), Ransen Taito and A.T. to sign,
                      and GORDON SHIRAISHI(5) so that these documents would
                                              be provided to the Federal
                                              grand jury
  8       May 19,     KATHERINE KEALOHA (1), MINH-HUNG NGUYEN (4)
         2016         LOUIS M. KEALOHA (2), testified in a false and
                      DEREK WAYNE HAHN (3), misleading manner before the
                      MINH-HUNG NGUYEN (4), grand jury by stating that he did
                      and GORDON SHIRAISHI(5) not recall communicating with
                                                        Silva    about      the     false
                                                       information       they       were
                                                        providing to USPIS and in
                                                        G.K.P.'s criminal trial



       All in violation of Title 18, United States Code, Section 1512(c)(2).




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                                     Counts 9-11


               False Statements to Federal Officer(18 U.S.C. § 1001)

       42.    The grand jury realleges and incorporates by reference Introductory

 Allegations 1 through 25 ofthis Indictment.

       43.    Between June 30, 2013, and December 2014, USPIS had a criminal

 investigation into the alleged theft ofa mailbox from the KEALOHAs'then personal

 residence. Between December 2014, and the date of this Indictment, the FBI had a

 criminal investigation into possible violations offederal law by persons involved in

 the investigation and prosecution of G.K.P. It was material to both the USPIS

 investigation and the FBI investigation to determine what steps had been taken by

 HPD to investigate the alleged crime, what evidence had been collected,and whether

 the witnesses could credibly testify about relevant facts.

       44.    On or about the dates set forth below, in the District of Hawaii, the

 defendants identified below did willfully and knowingly make the following false,

 fictitious and fraudulent statements in a matter within the jurisdiction of the

 executive branch of the United States:




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  Count Date           Defendant                         False   Statement and     Federal
                                                         Agency
          July 5,      KATHERINE KEALOHA (1), MINH-HUNG             NGUYEN
          2013         LOUIS M.KEALOHA (2),   falsely told USPIS Inspector B.
                       DEREK WAYNE HAHN (3), Shaughnessy that Niall Silva
                       and                    had recovered the original Video
                       MINH-HUNG NGUYEN (4)   hard      drive    from      the
                                              KEALOHAs' then personal
                                              residence on the morning on
                                              June 22, and that NGUYEN had
                                                         met Silva at the KEALOHAs'
                                                         residence on June 22
   10     November     KATHERINE KEALOHA (1),            GORDON SHIRAISHI falsely
          16,2015      LOUIS M.KEALOHA (2),              stated to the FBI that on June 22,
                       DEREK WAYNE HAHN (3),             2013, at around 9:00 a.m., he
                       MINH-HUNG NGUYEN (4),             received a call on his cell phone
                       GORDON SHIRAISHI(5)               from              L. KEALOHA
                                                         complaining that his mailbox
                                                         was gone, and that GORDON
                                                         SHIRAISHI contacted DEREK
                                                         WAYNE HAHN soon thereafter
                                                         and directed that a technician
                                                         from     CIU     be     sent      to
                                                         L. KEALOHA's          home        to
                                                         examine the video surveillance
                                                         footage
   11     January      DANIEL SELLERS(6)                 After Silva had pled guilty,
          11,2017                                        DANIEL SELLERS presented a
                                                         false story to the FBI concerning
                                                         his whereabouts and activities
                                                         on June 22,2013


        All in violation of Title 18, United States Code, Section 1001.




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                                       Count 12


                           Bank Fraud (18 U.S.C. § 1344)

        45.   The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 3, and 12 through 16, of this Indictment.

        46.   Beginning no later than December 2007, and continuing through

 January 2012, within the District of Hawaii, defendants KATHERINE P.

 KEALOHA,aka Katherine E.Kealoha,aka Kathy Kealoha,aka Kat,aka Alison Lee

  Wong,and LOUIS M.KEALOHA knowingly devised, with the intent to defraud, a

  material scheme to defraud ASB and to obtain money and funds owned by and under

 the custody and control of ASB by means of materially false and fraudulent

 pretenses, representations and promises.

        47.   It was part of the scheme that K. KEALOHA would apply to ASB for

 a "Savings Secured Loan" in the amount of $50,000 by fraudulently pledging as

 collateral the Trust Account owned by Ransen Taito.

        48.   It was further part of the scheme that K. KEALOHA would falsely

 represent to ASB that the loan proceeds would be used to pay for "home

 improvement/tuition."

        49.   It was further part ofthe scheme that K. KEALOHA and L.KEALOHA

 would use ASB's loan proceeds to pay for expenses other than the home

 improvement and tuition needs of Ransen Taito.



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       50.    It was further part of the scheme that when the Savings Secured Loan

 came due, K. KEALOHA would cause Ransen Taito's Trust Account to be

 liquidated and $49,580.99 of Ransen Taito's money to be used to repay ASB for

 K. KEALOHA's loan.


                              Execution of the Scheme


       51.    On or about January 4, 2008, within the District of Hawaii,

 L. KEALOHA and K. KEALOHA knowingly executed the scheme by falsely

 certifying to ASB that K.KEALOHA owned the funds in the Trust Account and was

 authorized to pledge the Trust Account as collateral for the loan.

       All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                      Count 13


                           Bank Fraud(18 U.S.C. § 1344)

       52.    The grand jury realleges and incorporates by reference Introductory

 Allegations 1 through 3, and 12 through 16, ofthis Indictment.

       53.    Beginning no later than March 2009, and continuing through March

 2010, within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

 Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

 LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

 scheme to defraud ASB and to obtain money and funds owned by and under the

 custody and control of ASB by means of materially false and fraudulent pretenses,

 representations and promises.

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        54.   It was part of the scheme that K. KEALOHA would apply to ASB for

 a "Savings Secured Loan" in the amount of$55,082.22 by fraudulently pledging as

 collateral the Trust Account owned by A.T.

        55.   It was further part of the scheme that K. KEALOHA would falsely

 represent to ASB that the loan proceeds would be used for "kid[']s expenses."

        56.   It was further part ofthe scheme that K.KEALOHA and L.KEALOHA

  would use ASB's loan proceeds to pay for expenses other than those incurred for the

 benefit of A.T., including the repayment of an earlier Savings Secured Loan that

 K. KEALOHA had procured using A.T.'s Trust Account.

        57.   It was further part of the scheme that K. BCEALOHA would transfer

 $12,000 from this Savings Secured Loan into another bank account, and would use

 those funds to pay for the personal expenses of K. KEALOHA and L. KEALOHA,

 including an $8,000 credit card payment, a $6,247.77 mortgage payment, private

 school tuition payment for their child, property taxes and other real estate expenses.

        58.   It was further part of the scheme that when the Savings Secured Loan

 came due, K. KEALOHA would cause A.T.'s Trust Account to be liquidated and

 $55,194.20 of A.T.'s money to be used to repay ASB for K. KEALOHA's loan.

                              Execution of the Scheme


        59.   On or about March 19, 2009, within the District of Hawaii,

 L. KEALOHA and K. KEALOHA knowingly executed the scheme by falsely



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 certifying to ASB that K.KEALOHA owned the funds in the Trust Account and was

 authorized to pledge the Trust Account as collateral for the loan.

       All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                      Count 14


                           Bank Fraud (18 U.S.C. § 1344)

       60.    The grand jury realleges and incorporates by reference Introductory

 Allegations 1 through 3, and 12 through 16, of this Indictment.

       61.    Beginning no later than March 2010,and continuing through July 2010,

 within the District of Hawaii, defendants KATHERJNE P. KEALOHA, aka

 Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

 LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

 scheme to defraud HUSAFCU and to obtain money and funds owned by and under

 the custody and control of HUSAFCU by means of materially false and fraudulent

 pretenses, representations and promises.

       62.   It was part ofthe scheme that L. KEALOHA and K.BCEALOHA would

 apply to HUSAFCU for a first loan in the amount of $1,100,000 to refinance their

 mortgage on their then personal residence, and falsely certify that the information

 provided in support oftheir application was true and correct.

       63.   It was further part of the scheme that on or about March 31, 2010,

 L. KEALOHA and K. KEALOHA would sign and submit to HUSAFCU a loan

 application falsely claiming the two Trust Accounts as their own assets.

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        64.    It was further part ofthe scheme that L.KEALOHA and K.KEALOHA

  would submit a letter dated March 12,2010,falsely denying certain derogatory items

  on their credit report.

        65.    It was further part of the scheme that K. KEALOHA would submit a

 letter of explanation in June 2010, providing false material statements about the

  credit history of L. KEALOHA and K. KEALOHA

        66.    It was further part of the scheme that in or about June 2010, K.

 KEALOHA altered monthly statements for one of the Trust Accounts to make it

 appear that she owned the accounts, and forwarded those altered documents to

 HUSAFCU to support the loan application.

        67.    On or about July 6, 2010, using the alias Alison Lee Wong,

 K. KEALOHA sent a fabricated email to herself at a different email address, and

 forwarded that email to her mortgage broker, in order to make it appear that

 derogatory credit associated with K. KEALOHA was erroneous, and that

 KEALOHA's assistant,"Alison Lee Wong," was attempting to correct such errors.

                              Execution ofthe Scheme


        68.    On or about July 9, 2010, within the District of Hawaii, L. KEALOHA

 and K. KEALOHA knowingly executed the scheme by falsely certifying in a Form

  1003 loan application that they personally owned the assets in one of the Trust

 Accounts, when in fact K. KEALOHA was merely a trustee on the Trust Account

 and the true owner was Ransen Taito.

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        All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                       Count 15


                            Bank Fraud(18 U.S.C. § 1344)

        69.   The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 3, 5, and 12 through 16, of this Indictment.

        70.   Beginning no later than June 2012, and continuing through July 24,

 2012, within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

 Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

 LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

 scheme to defraud HCFCU and to obtain money and funds owned by and under the

 custody and control of HCFCU by means of materially false and fraudulent

 pretenses, representations and promises.

        71.   It was part ofthe scheme that L.KEALOHA and K.KEALOHA would

 apply to HCFCU for a second mortgage on their then personal residence in the

 amount of $150,000, and falsely certify that the information provided in support of

 their application was true and correct.

        72.   It was further part of the scheme that in or about June 2012,

 K. KEALOHA would submit a forged "Hawaii Residential Lease Agreement" to

 HCFCU to give the false impression that L.KEAHLOA and K.KEALOHA received

 rental income every month.



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                               Execution of the Scheme


        73.    On or about July 24, 2012, within the District of Hawaii,

  K. KEALOHA and L. KEALOHA knowingly executed the scheme by falsely

  certifying in a Form 1003 loan application that they received over $2,700 per month

 in rental income from MINH-HUNG NGUYEN(4)and M.N., when in fact no such

 lease agreement existed and the defendants did not receive rent or lease payments.

        All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                       Count 16


                            Bank Fraud (18 U.S.C. § 1344)

        74.   The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 3, 5, and 12 through 16, of this Indictment.

        75.   In or about March 2013, within the District of Hawaii, defendants

 KATHERINE P. KEALOHA, aka Katherine E. Kealoha, aka Kathy Kealoha, aka

 Kat, aka Alison Lee Wong,and LOUIS M.KEALOHA knowingly devised, with the

 intent to defraud, a material scheme to defraud HCFCU and to obtain money and

 funds owned by and under the custody and control of HCFCU by means of

  materially false and fraudulent pretenses, representations and promises.

        76.   It was part ofthe scheme that L. KEALOHA and K.KEALOHA would

 apply to HCFCU for a home equity line ofcredit on their then personal residence in

 the amount of$180,000, and falsely certify that the information provided in support

 oftheir application was true and correct.

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        77.      It was further part of the scheme that L. KEALOHA and

 K. KEALOHA would sign a Form 1003 loan application in support of the loan

  application.

        78.      It was further part of the scheme that in or about June 2012,

 K. KEALOHA would submit a forged "Hawaii Residential Lease Agreement" to

 HCFCU to give the false impression that K.KEAHLOA and L.KEALOHA received

 rental income every month from MINH-HUNG NGUYEN (4) and M.N., when in

 fact no such lease agreement existed and the defendants did not receive rent or lease

 payments.

        79.      It was further part ofthe scheme that K.KEALOHA and L.KEALOHA

 would falsely claim to HCFCU that derogatory information on their credit reports

 did not belong to them, and would provide false explanations for why derogatory

 items appeared on their credit reports.

                                Execution of the Scheme


        80.      In or about March 2013, within the District of Hawaii, K. KEALOHA

 and L. KEALOHA knowingly executed the scheme by submitting a forged HPD

 police report, purportedly signed by HPD officer C.P.M. on March 30, 2009, and

 claiming that the defendants were the victims of identity theft, in an attempt to

 explain derogatory information on their credit reports.

        All in violation of Title 18, United States Code, Section 1344(1) and (2).



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                                      Count 17


                           Bank Fraud(18 U.S.C. § 1344)

       81.    The grand jury realleges and incorporates by reference Introductory

 Allegations 1 through 3, and 12 through 16, of this Indictment.

       82.    Beginning in or about June 2013,and continuing until August 30,2013,

 within the District of Hawaii, defendants KATHERJNE P. KEALOHA, aka

 Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

 LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

 scheme to defraud HCFCU and to obtain money and funds owned by and under the

 custody and control of HCFCU by means of materially false and fraudulent

 pretenses, representations and promises.

       83.    It was part ofthe scheme that L.KEALOHA and K.KEALOHA would

 apply to HCFCU for a $980,000 mortgage loan to purchase a home, and falsely

 certify that the information provided in support of their application was true and

 correct.


       84.    It was further part ofthe scheme that L. KEALOHA and K.KEALOHA

 would submit to HCFCU letters of explanation dated March 12, 2010, and July 12,

 2012, falsely representing that certain derogatory credit did not belong to them.

                              Execution ofthe Scheme


       85.    In or about August 2013, within the District of Hawaii, K. KEALOHA

 and L. KEALOHA knowingly executed the scheme by submitting a forged HPD

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  police report, purportedly signed by HPD officer C.P.M. on March 30, 2009, and

  claiming that the defendants were the victims of identity theft, in an attempt to

  explain derogatory information on their credit reports.

        All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                       Count 18


                            Bank Fraud (18 U.S.C. § 1344)

        86.     The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 3, and 12 through 16, of this Indictment.

        87.     Beginning in or about May 2014, and continuing until July 11, 2014,

  within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

 Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

 LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

 scheme to defraud HCFCU and to obtain money and funds owned by and under the

 custody and control of HCFCU by means of materially false and fraudulent

 pretenses, representations and promises.

        88.     It was part ofthe scheme that L. KEALOHA and K.KEALOHA would

 apply to HCFCU for a $90,000 home equity loan for "debt consolidation", and

 falsely certify that the information provided in support of their application was true

 and correct.




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       89.    It was further part ofthe scheme that L.KEALOHA and K.KEALOHA

  would submit to HCFCU a letter of explanation dated July 12, 2012, falsely

 representing that certain derogatory credit accounts did not belong to them.

                              Execution of the Scheme


       90.   In or about July 2014,within the District ofHawaii,K. KEALOHA and

 L. KEALOHA knowingly executed the scheme by submitting a forged HPD police

 report, purportedly signed by HPD officer C.P.M. on March 30,2009, and claiming

 that the defendants were the victims of identity theft, in an attempt, to explain

 derogatory information on their credit reports.

       All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                      Count 19


                           Bank Fraud(18 U.S.C. § 1344)

       91.   The grand jury realleges and incorporates by reference Introductory

 Allegations 1 through 3, and 12 through 16, of this Indictment.

       92.   Beginning in or about Jxme 2016, and continuing until September 12,

 2016, within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

 Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

 LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

 scheme to defraud HCFCU and to obtain money and funds owned by and under the

 custody and control of HCFCU by means of materially false and fraudulent

 pretenses, representations and promises.

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        93.    It was part ofthe scheme that L. KEALOHA and K.KEALOHA would

  apply to HCFCU for a $1,040,000 refinancing of their mortgage and "cash out" of

  approximately $32,000,and a $172,500 home equity line on an investment property.

        94.   It was further part of the scheme that K. KEALOHA would sign and

  provide a letter of explanation, dated August 5, 2016,falsely claiming that different

  handwriting appeared in the loan application because K. KEALOHA had "serious

  health issues which have affected [her] vision and handwriting."

        95.   It was further part ofthe scheme that L. KEALOHA and K.KEALOHA

  would submit a forged HPD police report,purportedly signed by HPD officer C.P.M.

 on March 30, 2009, in an attempt to claim that the defendants were the victims of

 identity thefl and explain away their poor credit history.

                                 Execution of Scheme


        96.   In or about July 2016, within the District ofHawaii,K. KEALOHA and

 L. KEALOHA knowingly executed the scheme by submitting a letter ofexplanation

 that falsely denied certain derogatory items on their credit report, and falsely

 disavowed certain credit accounts that belonged to them.

        All in violation of Title 18, United States Code, Section 1344(1) and (2).




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                                    Counts 20-23


                    Aggravated Identity Theft(18 U.S.C. § 1028A)

       97.     The grand jury realleges and incorporates by reference Introductory

 Allegations I through 3, and 12 through 16, of this Indictment.

       98.     On or about the dates set forth below, within the District of Hawaii,

 defendant KATHERINE P. KEALOHA (1), aka Katherine E. Kealoha, aka Kathy

 Kealoha,aka Kat,aka Alison Lee Wong,did knowingly use without lawful authority

 a means of identification of another person during and in relation to a felony

 violation enumerated in 18 U.S.C. § I028A(c)- that is. Bank Fraud in violation of

 Title 18, United States Code, Section 1344 - knowing that the means of

 identification belonged to another actual person:

  Count      Date          Means ofIdentification    Felony Violation Alleged In

  20         March 2013    C.P.M.'s name, that is, Count 16
                           the forged signature of
                           C.P.M.
  21         August 2013 C.P.M.'s name, that is,     Count 17
                         the forged signature of
                           C.P.M.
  22         July 2014     C.P.M.'s name, that is, Count 18
                           the forged signature of
                           C.P.M.
  23         July 2016     C.P.M.'s name, that is, Count 19
                           the forged signature of
                           C.P.M.



       All in violation of Title 18, United States Code, Section 1028A.




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                                 Forfeiture Allegations

       99.    The allegations contained in paragraphs 1 through 25 of the

 Introductory Allegations, and Counts 1 through 23 ofthis Indictment, are realleged

 and incorporated by reference for the purpose of alleging forfeiture to the United

 States pursuant to Title 18, United States Code, Section 982(a)(2)(A).

       100. Upon conviction of the offenses in violation of Title 18, United States

 Code, Section 1344, set forth in Counts 12 through 19 ofthis Indictment, defendants

 KATHERINE P. KEALOHA, aka Katherine E. Kealoha, aka Kathy Kealoha, aka

 Kat, aka Alison Lee Wong, and LOUIS M. KEALOHA shall forfeit to the United

 States of America, pursuant to Title 18, United States Code, Section 982(a)(2)(A),

 any property constituting, or derived from,proceeds obtained, directly or indirectly,

 as a result ofsuch violations. The property to be forfeited includes, but is not limited

 to, the following:

              a.      The total amount of proceeds obtained directly or indirectly as a

       result ofthe offenses;

              b.      All ofthat certain parcel ofland situated at Maunalua, Honolulu,

       City and County of Honolulu, State of Hawaii, being LOT 84 ofthe "LUNA-

       KAI MARINA, UNIT 9-A," as shown on File Plan No. 1116, filed in the

       Bureau of Conveyances of the State of Hawaii, and containing an area of

       7,508 square feet, more or less; and



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               c.    A Rolex Two-Tone Submariner Watch with Blue Dial Large

        Karat Gold, Serial Number V864527.

        101. Ifany ofthe property described above, as a result ofany act or omission

 of the defendants (a) cannot be located upon the exercise of due diligence;(b) has

 been transferred or sold to, or deposited with, a third party; (c) has been placed

 beyond the jurisdiction of the court;(d) has been substantially diminished in value;

 or (e) has been commingled with other property which cannot be divided without

  difficulty, the United States of America shall be entitled to forfeiture of substitute

  property pursuant to Title 21, United States Code, Section 853(p), as incorporated

 by Title 18, United States Code, Section 982(b)(1) and Title 28, United States Code,

  Section 2461(c).

        All pursuant to 18 U.S.C. § 982(a)(2)(A) and 28 U.S.C. § 2461(c).

        Dated: March 22, 2018, at Honolulu, Hawaii.

                                                A TRUE BILL


                                                /s/ Foreperson
                                                FOREPERSON,GRAND JURY
 JEFFERSON B. SESSIONS III
 United States Attorney General
 ADAM Ly^RAVERMAN
 Unite' ^              -


 MIOTAEL G. WHEAT,CBN 118598
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